          Case 1:21-cv-06715-LAK Document 12 Filed 11/09/21 Page 1 of 1
            Case 1:21-cv-06715-LAK Document 11 Filed 11/05/21 Page 1 of 2
                                                                           1333A NORTH AVE., STE. 762

LiebowitzQLaw Firm, PLLC                                                   NEW ROCHELLE, NY 10804
                                                                           (516) 233-1660
                       ATTORNEYS FOR THE PHOTOGRAPHIC ARTS                 WWW .LIEBOW ITZLAWFIRM .COM




  November 5, 2021                                                       us~~so;'Y                  \
                                                                         DOCUME!':T                     .
                                                                         E LECTRONICALLY FILED
  VIAECF
                                                                         DOC ' 1:._____       ,,,
                                                                         DATE FlLED:      ~   -
  Honorable Lewis A. Kaplan
  United States District Court
  Southern District of New York
  500 Pearl Street
  New York, NY 10007


  Re:    FNTV LLC v. Home Box Office, Inc., 1:21-cv-06715 (LAK)


  Dear Judge Kaplan:

          We represent Plaintiff FNTV LLC ("Plaintiff') in the above-captioned case. We write to
  inform the Court that the parties have reached a settlement in principle pending their negotiation
  of a final settlement agreement. We therefore respectfully request that the Court issue an order
  of discontinuance of the action without prejudice and without costs; but with leave to reopen the
  case in thirty (30) days from the date of the order if the parties have not submitted a Stipulation
  of Dismissal by such time.

         Plaintiff also requests that the Court adjourn all dates, until such time as the final
  Dismissal is entered or, if not, until Plaintiff notifies the Court that the action should be
  reopened. Defendant Home Box Office, Inc. consents to the requested relief.


                                                         Respectfully Submitted,

                                                         s/j ameshfreeman/
                                                         James H. Freeman

                                                         Counsel/or Plaintiff
